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    9                          UNITED STATES DISTRICT COURT
   10                      CENTRAL DISTRICT OF CALIFORNIA
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   12 YALCIN AYASLI                           Case No. 2:20-cv-09388-CAS-PD
   13                                         [PROPOSED] ORDER ON MOTION
                  Plaintiff,                  TO DISMISS FOR INSUFFICIENT
   14                                         SERVICE OF PROCESS
   15        v.                               Judge: Hon. Christina A. Snyder
   16                                         Complaint Filed: October 10, 2020
        SEZGIN BARAN KORKMAZ, et al.          Trial Date: None Set
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   18             Defendants.
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                                                                     Case No. 2:20-cv-09388
                                                                      [PROPOSED] ORDER
Case 2:20-cv-09388-CAS-PD Document 133-1 Filed 09/09/22 Page 2 of 2 Page ID #:361




    1        Upon consideration of the Motion to Dismiss For Insufficient Service of
    2 Process (the “Motion”) filed by defendant Fatih Akol, and the arguments and papers
    3 presented in support and opposition thereto, the Court ORDERS that:
    4        1. The Motion is GRANTED in its entirety; and
    5        2. Fatih Akol is dismissed with prejudice from this case for untimely and
    6           inexcusably insufficient service of process pursuant to Fed. R. Civ. P.
    7           12(b)(5) and 4(m).
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    9 IT IS SO ORDERED.
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   11 DATED:__________________                  ___________________________________
   12
                                                         United States District Judge
   13
                                                      The Honorable Christina A. Snyder
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                                                -1-                         Case No. 2:20-cv-09388
                                                                             [PROPOSED] ORDER
